     Case 2:19-cv-06814-DSF-KS        Document 27 Filed 12/02/19   Page 1 of 5 Page ID
                                            #:569


 1   GREENBERG TRAURIG, LLP
     NINA D. BOYAJIAN (SBN 246415)
 2
     BoyajianN@gtlaw.com
 3   REBEKAH S. GUYON (SBN 291037)
 4
     GuyonR@gtlaw.com
     1840 Century Park East, Suite 1900
 5   Los Angeles, CA 90067-2121
 6
     Telephone: 310-586-7700
     Facsimile: 310-586-7800
 7
 8   Attorneys for Defendant Retreaver, Inc.

 9
10                          UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12                                     WESTERN DIVISION
13
14   ACQUISITION MANAGEMENT, INC.,                 CASE NO.: 2:19-cv-06814-DSF-KS
15                       Plaintiff,
                                                   DEFENDANT RETREAVER, INC.’S
16   vs.                                           REQUEST FOR JUDICIAL NOTICE
                                                   IN SUPPORT OF MOTION TO
17   RETREAVER, INC., and DOES 1-5,                DISMISS FIRST AMENDED
     inclusive,                                    COMPLAINT PURSUANT TO FED.
18                                                 R. CIV. P. 12(B)(2) AND 12(B)(6)
                         Defendants.
19
                                                   [Notice of Motion and Motion to Dismiss;
20                                                 Declaration of Rebekah S. Guyon; and
                                                   Proposed Order filed concurrently]
21
22                                                 Hearing Date:     December 30, 2019
                                                   Time:             1:30 p.m.
23
                                                   Room:             Courtroom 7D
24
                                                   Hon. Dale S. Fischer
25
                                                   Action Filed: August 6, 2019
26                                                 FAC Filed: November 11, 2019
27
28



     ACTIVE47350009
     Case 2:19-cv-06814-DSF-KS       Document 27 Filed 12/02/19       Page 2 of 5 Page ID
                                           #:570


     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 1
            PLEASE TAKE NOTICE that on December 30, 2019, at 1:30 p.m., in
 2
     Courtroom 7D of the above-captioned Court, located at 350 West 1st Street, Los
 3
     Angeles, California, Defendant Retreaver, Inc. will and hereby does respectfully request
 4
     that the Court take judicial notice of the following public records pursuant to Fed. R.
 5
     Evid. 201, when ruling on Defendant’s concurrently-filed Motion to Dismiss the First
 6
     Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(2) and 12(b)(6), all of which are
 7
     authenticated in the Declaration of Rebekah S. Guyon:
 8
             Exhibit     3:   A     compilation   of   the   webpages     from    the   domain
 9
                callanalyticssoftware.com, which are incorporated by reference in paragraphs
10
                75-79 of the First Amended Complaint (“FAC”).
11
             Exhibit 4: The State of Wyoming Secretary of State Filing Information for
12
                Acquisition Management, Inc.
13
             Exhibit 5: The Florida Division of Corporations Entity Detail Information for
14
                HPJ Holdings, Inc.
15
             Exhibit 6: The results of a public records search for “Oscar Maglio.”
16
             Exhibit 7: The United States Census Bureau “Quick Facts” comparing the
17
                2018 population of California to the total population of the United States.
18
             Exhibit 8: The results of a business entity search for “HPJ Holdings LLC” on
19
                the California Secretary of State website.
20
             Exhibit 9: The results of a business entity search for “HPJ Holdings Inc.” on
21
                the California Secretary of State website.
22
             Exhibit 10: The Second Declaration of FTC Investigator David S. Gonzalez,
23
                and Attachment 131 thereto, filed on August 12, 2014 in Federal Trade
24
                Commission v. MDK Media Inc., et al., Docket 53 and 53-8, Case No. 2:14-
25
                cv-05099-JFW-MRW, Central District of California.
26
             Exhibit 11: Federal Trade Commission’s Motion for a Temporary Restraining
27
                Order and Order to Show Cause Why a Preliminary Injunction Should Not
28
                                                   1
     ACTIVE47350009
     Case 2:19-cv-06814-DSF-KS         Document 27 Filed 12/02/19     Page 3 of 5 Page ID
                                             #:571


                Issue and the Declaration of Sallie S. Schools and Attachments A-B, M-V in
 1
                support thereof, filed on April 18, 2011 in Federal Trade Commission v. Circa
 2
                Direct LLC, and Andrew Davidson, Docket 3, Case No. 1:11-cv-02172-RMB-
 3
                AMD, District of New Jersey.
 4
             Exhibit 12: The Complaint in Etronics, Inc. v. Harrison Gevirtz et al., San
 5
                Francisco County Superior Court Case No. CGC-13-531276, filed May 8,
 6
                2013.
 7
             Exhibit 13: The Complaint in Ronan Petillon, et al., v. Ryan Eagle, Harrison
 8
                Donald Gevirtz, Eagle Web Assets Private Network, Eagle Web Assets, Inc.,
 9
                and EWA Network Inc., Circuit Court of Cook County, County Department,
10
                Chancery Division, Case No. 2013CH10379, filed April 18, 2013.
11
             Exhibit 14: The Complaint in Valerie Comte and Harrison Gevirtz v. Ford
12
                Motor Company, Santa Barbara County Superior Court Case No. 1402454,
13
                filed June 22, 2012.
14
             Exhibit 15: The docket for Colorado Department of Revenue v. Gevirtz,
15
                Harrison, Colorado District Court Denver County Case No. 2012CV802915,
16
                filed January 13, 2012.
17
            Fed. R. Evid. 201(b) authorizes this Court to take judicial notice of any material
18
     that is “not subject to reasonable dispute in that it is . . . capable of accurate and ready
19
     determination by resort to sources whose accuracy cannot reasonably be questioned.”
20
     Exhibit 3 is subject to judicial notice under the “incorporation by reference” doctrine
21
     and Exhibits 4 through 15 are further subject to judicial notice as public records whose
22
     authenticity cannot reasonably be questioned.
23
            Incorporation By Reference
24
            Exhibit 3, webpages from the domain callanalyticssoftware.com, is specifically
25
     referenced in and forms the basis of Plaintiff Acquisition Management, Inc.’s
26
     (“Acquisition”) claims, although Acquisition did not attach these materials to the FAC.
27
     See FAC ¶¶ 75-79. Under the incorporation by reference doctrine, this Court may “‘take
28
                                                  2
     ACTIVE47350009
     Case 2:19-cv-06814-DSF-KS      Document 27 Filed 12/02/19        Page 4 of 5 Page ID
                                          #:572


     into account documents whose contents are alleged in a complaint and whose
 1
     authenticity no party questions, but which are not physically attached to the plaintiff’s
 2
     pleading.’” Forman v. Wells Fargo Bank, N.A., No. CV171164DSFCFEX, 2017 WL
 3
     8110528, at *1 (C.D. Cal. Apr. 24, 2017) (Fischer, J.) (quoting Knievel v. ESPN, 393
 4
     F.3d 1068, 1076 (9th Cir. 2005); Smith v. Nationstar Mortg. LLC, No.
 5
     CV1502498DSFMRWX, 2015 WL 4652699, at *2 n. 2 (C.D. Cal. Aug. 4, 2015)
 6
     (Fischer, J.) (same).
 7
            Webpages may be judicially noticed under this doctrine. See, e.g., Knievel, 393
 8
     F.3d at 1076-77 (taking judicial notice on a Rule 12(b)(6) motion of the content of the
 9
     defendant’s webpages, which were not attached to the complaint, to provide the context
10
     for an allegedly defamatory photograph and caption on defendant’s webpage that
11
     plaintiff had attached to the complaint); Nat’l Grange of the Order of Patrons of
12
     Husbandry v. Cal. State Grange, 182 F.Supp.3d 1065, 1082 n. 5 (E.D. Cal. 2016)
13
     (taking judicial notice of webpages); Tompkins v. 23andMe, Inc., No. 5:13-CV-05682-
14
     LHK, 2014 WL 2903752, at *1 n. 1 (N.D. Cal. June 25, 2014) (same), aff’d, 840 F.3d
15
     1016 (9th Cir. 2016).
16
            Based on the foregoing, this Court should consider Exhibit 3 when ruling on
17
     Retreaver’s motion to dismiss pursuant to Rule 12(b)(6) under the incorporation by
18
     reference doctrine.
19
            Authentic Public Records
20
            Exhibits 4 through 15 are judicially noticeable as matters of public record that are
21
     not subject to reasonable dispute. See, e.g., Reyn’s Pasta Bella, LLC v. Visa USA, Inc.,
22
     442 F.2d 741, 746 n. 6 (9th Cir. 2006) (judicial notice taken of court filings in a separate
23
     case). Exhibits 4 through 15 are properly considered by the Court when ruling on
24
     Retreaver’s bases for dismissal pursuant to both 12(b)(6) and 12(b)(2).
25
            “A matter that is properly the subject of judicial notice may be considered in
26
     ruling on a Rule 12(b)(6) motion.” Griner v. Mercurio, No. CV056583DSFRCX, 2005
27
     WL 6133906, at *2 (C.D. Cal. Dec. 6, 2005) (Fischer, J.) (citing Barron v. Reich, 13
28
                                                  3
     ACTIVE47350009
     Case 2:19-cv-06814-DSF-KS       Document 27 Filed 12/02/19        Page 5 of 5 Page ID
                                           #:573


     F.3d 1370, 1377 (9th Cir. 1994); accord Foley v. Aintabi, No. CV 13-3691 DSF (SSX),
 1
     2013 WL 12130015, at *4 (C.D. Cal. Nov. 6, 2013) (Fischer, J.) (same). Thus, this
 2
     Court “may consider ‘[r]ecords and reports of administrative bodies,’ and other ‘matters
 3
     of public record outside the proceedings,’ such as motions filed in other cases.” Griner,
 4
     2005 WL 6133906, at *2 (quoting MGIC Indem. Corp. v. Weisman, 803 F.2d 500, 504
 5
     (9th Cir. 1986)) (citation omitted).
 6
            Similarly, in the context of a 12(b)(2) motion to dismiss for lack of personal
 7
     jurisdiction, “[p]arties may go beyond the pleading and support their positions with
 8
     discovery materials, affidavits, or declarations.” Poetry Corp. v. Conway Stores, Inc.,
 9
     No. CV 14-01787 RSWL JPR, 2014 WL 4181020, at *3 (C.D. Cal. Aug. 21, 2014); Am.
10
     Inst. of Intradermal Cosmetics, Inc. v. Soc’y of Permanent Cosmetic Professionals, No.
11
     CV 12-06887 GAF JCGX, 2013 WL 1685558, at *4 (C.D. Cal. Apr. 16, 2013) (same).
12
             Accordingly, this Court should take judicial notice of Exhibits 3-15 when ruling
13
     on Retreaver’s motion to dismiss.
14
15
     Dated: December 2, 2019                 Respectfully submitted,
16
                                             GREENBERG TRAURIG, LLP
17
18
                                            By: /s/ Nina D. Boyajian
19                                                 Nina D. Boyajian
                                                   Rebekah S. Guyon
20                                           Attorneys for Defendant Retreaver, Inc.
21
22
23
24
25
26
27
28
                                                  4
     ACTIVE47350009
